             Case 23-90566 Document 17-1 Filed in TXSB on 05/23/23 Page 1 of 10




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    BENEFYTT TECHNOLOGIES, INC., et al.,1                            )   Case No. 23-90566 (CML)
                                                                     )
                                       Debtors.                      )   (Joint Administration Requested)
                                                                     )   Re: Docket No. _____

                   ORDER (I) AUTHORIZING THE DEBTORS
              TO REDACT CERTAIN PERSONALLY IDENTIFIABLE
          INFORMATION, (II) APPROVING THE FORM AND MANNER OF
      NOTIFYING CREDITORS OF THE COMMENCEMENT OF THE CHAPTER 11
     CASES AND OTHER INFORMATION, AND (III) GRANTING RELATED RELIEF

             Upon the emergency motion (the “Motion”)2 of the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) for entry of an order (this “Order”), The Debtors seek

entry of an order, substantially in the attached form (the “Order”), (a) authorizing the Debtors to

redact certain personally identifiable information; (b) approving the form and manner of notifying

creditors of the of commencement of these chapter 11 cases; and (c) granting related relief, all as

more fully set forth in the Motion; and upon the First Day Declaration; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having found that this is

a core proceeding pursuant to 28 U.S.C. § 157(b); and that this Court may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that venue


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Benefytt Technologies, Inc. (2634); American Service Insurance Agency LLC (9115); Benefytt
      Reinsurance Solutions, LLC (4601); BimSym-HPIH, LLC (4626); Dawn Acquisition Company, LLC (0909);
      Daylight Beta Intermediate Corp. (7248); Daylight Beta Intermediate II Corp. (8842); Daylight Beta Parent Corp.
      (6788); Health Insurance Innovations Holdings, Inc. (1994); Health Plan Intermediaries Holdings, LLC (0972);
      Healthinsurance.com, LLC (9525); HealthPocket, Inc. (3710); Insurance Center for Excellence, LLC (4618);
      RxHelpline, LLC (9940); Sunrise Health Plans, LLC (3872); TogetherHealth Insurance, LLC (9503);
      TogetherHealth PAP, LLC (8439); and Total Insurance Brokers, LLC (7975). The location of the Debtors’
      service address is: 3450 Buschwood Park Drive, Suite 200, Tampa, Florida 33618.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
       Case 23-90566 Document 17-1 Filed in TXSB on 05/23/23 Page 2 of 10




of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate under

the circumstances and no other notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court, if any; and this Court having determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.      The Debtors and the Claims and Noticing Agent are directed to redact on

the Creditor Matrix, Schedules and Statements, or other documents filed with the Court (a) all

personally identifiable information of minors; (b) all personally identifiable information of

individual creditors who are citizens of the United States and residing in the United States—

including the Debtors’ employees, contract workers, vendors, suppliers—and individual equity

holders; and (c) all Personal Data of individuals if such Personal Data is processed subject to the

UK GDPR or EU GDPR. The Debtors shall provide an unredacted version of the Creditor Matrix,

Schedules and Statements, and any other filings redacted pursuant to this Order to (x) the Court,

the U.S. Trustee, counsel to any official committee appointed in these chapter 11 cases, counsel to

the DIP Lender, and the Claims and Noticing Agent and (y) any party in interest upon a request to

the Debtors (email is sufficient) or to the Court that is reasonably related to these chapter 11 cases,

subject to the restrictions of the UK GDPR and EU GDPR to the extent implicated; provided that

any receiving party shall not transfer or otherwise provide such unredacted document to any person


                                                  2
       Case 23-90566 Document 17-1 Filed in TXSB on 05/23/23 Page 3 of 10




or entity not party to the request. The Debtors shall inform the Court and U.S. Trustee promptly

after denying any request for an unredacted document pursuant to this Order. Nothing herein

precludes a party in interest’s right to file a motion requesting that the Bankruptcy Court unseal

the information redacted by this Order. The rights of all parties in these chapter 11 cases to object

to the relief set forth in this paragraph, for any reason, including that the Debtors have not satisfied

their burden under section 107(c) of the Bankruptcy Code, are hereby preserved.

        2.      The Notice of Commencement, substantially in the form attached hereto as

Exhibit 1 is approved. The Debtors, through Stretto, are authorized to serve the Notice of

Commencement on all parties on the Creditor Matrix (including via email, if available). Service

of the Notice of Commencement shall be deemed adequate and sufficient notice of: (a) the

commencement of these chapter 11 cases; and (b) the scheduling of the meeting of creditors under

section 341 of the Bankruptcy Code.

        3.      Nothing herein precludes a party in interest’s right to seek emergency relief from

the provisions herein or file a motion requesting that the Court allow access to the information

redacted by this Order.

        4.      Notice of the Motion as set forth therein shall be deemed good and sufficient notice

of such Motion, and the requirements of the Bankruptcy Rules and the Bankruptcy Local Rules

are satisfied by such notice.

        5.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order.




                                                   3
      Case 23-90566 Document 17-1 Filed in TXSB on 05/23/23 Page 4 of 10




       6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Dated: ___________, 2023

                                                     UNITED STATES BANKRUPTCY JUDGE




                                                 4
Case 23-90566 Document 17-1 Filed in TXSB on 05/23/23 Page 5 of 10




                             Exhibit 1

                      Notice of Commencement
            Case 23-90566 Document 17-1 Filed in TXSB on 05/23/23 Page 6 of 10




 Information to identify the case:

 Debtor:            Benefytt Technologies, Inc., et al.                                     EIN:   XX-XXXXXXX
                    Name

 United States Bankruptcy Court for the Southern District of Texas
                                                                        Date case filed for Chapter 11:
 Case Number:           23-90566 (CML)                                  May 23, 2023
Official Form 309F1 (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                               10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief
has been entered.

This notice has important information about the case for creditors and debtors, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally
may not take action to collect debts from the debtor or the debtor’s property. For example, while the stay is in effect,
creditors cannot sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors
cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay can be required
to pay actual and punitive damages and attorney’s fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt
excepted from discharge may be required to file a complaint in the bankruptcy clerk’s office within the deadline specified
in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk’s
office at the address listed below or through PACER (Public Access to Court Electronic Records at
https://pacer.uscourts.gov).
 The staff of the bankruptcy clerk’s office cannot give legal advice.
Do not file this notice with any proof of claim or other filing in the case.
1.       Debtors’ full name: See chart below.
         List of Jointly Administered Cases


NO.                   DEBTOR                               ADDRESS                        CASE NO.              EIN #
                                               3450 Buschwood Park Drive, Suite 200,
     1      Benefytt Technologies, Inc.                                                    23-90566         XX-XXXXXXX
                                                        Tampa, FL 33618
            American Service Insurance             Chambers Circle, Suite 1004,            23-90565         27‐4829115
     2
            Agency LLC                                Waxahachie, TX 75165
            Benefytt Reinsurance               3450 Buschwood Park Drive, Suite 200,       23-90568         XX-XXXXXXX
     3
            Solutions, LLC                              Tampa, FL 33618
            BimSym-HPIH, LLC                   3450 Buschwood Park Drive, Suite 200,       23-90570         83‐3334626
     4
                                                        Tampa, FL 33618
            Dawn Acquisition                   3450 Buschwood Park Drive, Suite 200,       23-90573         XX-XXXXXXX
     5
            Company, LLC                                Tampa, FL 33618
            Daylight Beta                      3450 Buschwood Park Drive, Suite 200,       23-90576         XX-XXXXXXX
     6
            Intermediate Corp.                          Tampa, FL 33618
            Daylight Beta                      3450 Buschwood Park Drive, Suite 200,       23-90567         XX-XXXXXXX
     7
            Intermediate II Corp.                       Tampa, FL 33618
            Daylight Beta Parent Corp.         3450 Buschwood Park Drive, Suite 200,       23-90571         XX-XXXXXXX
     8
                                                        Tampa, FL 33618
            Health Insurance Innovations       3450 Buschwood Park Drive, Suite 200,       23-90574         83‐3351994
     9
            Holdings, Inc.                              Tampa, FL 33618
            Health Plan Intermediaries         3450 Buschwood Park Drive, Suite 200,       23-90577         46‐0580972
 10
            Holdings, LLC                               Tampa, FL 33618
            Healthinsurance.com, LLC           3450 Buschwood Park Drive, Suite 200,       23-90579         95‐4769525
 11
                                                        Tampa, FL 33618




Official Form 309F1 (For Corporations or Partnerships)                            Notice of Chapter 11 Bankruptcy Case
              Case 23-90566 Document 17-1 Filed in TXSB on 05/23/23 Page 7 of 10



              HealthPocket, Inc.                 444 Castro Street, Suite 700, Mountain       23-90582          45‐5293710
     12
                                                            View, CA 94041
              Insurance Center for               3450 Buschwood Park Drive, Suite 200,        23-90569          45‐5404618
     13
              Excellence, LLC                              Tampa, FL 33618
              RxHelpline, LLC                  1300 Sawgrass Corporate Pkwy, Suite 200,       23-90572          47‐0989940
     14
                                                          Sunrise, FL 33323
              Sunrise Health Plans, LLC          3450 Buschwood Park Drive, Suite 200,        23-90575          26‐4123872
     15
                                                           Tampa, FL 33618
              TogetherHealth Insurance, LLC    1300 Sawgrass Corporate Pkwy, Suite 200,       23-90578          82‐5189503
     16
                                                          Sunrise, FL 33323
              TogetherHealth PAP, LLC          1300 Sawgrass Corporate Pkwy, Suite 200,       23-90580          27‐2388439
     17
                                                          Sunrise, FL 33323
              Total Insurance Brokers, LLC       3109 W Dr. ML King Jr. Blvd Suite 400        23-90581          83‐4127975
     18
                                                           Tampa, FL 33607



2.        All other names used in the last 8 years: See Rider 1.

3.        Address: See chart above.
4.        Debtors’ attorneys:
                                                                           Debtors’ notice and claims agent (for court
          JACKSON WALKER LLP                                               documents and case information inquiries):
          Matthew D. Cavenaugh (TX Bar No. 24062656)
          Jennifer F. Wertz (TX Bar No. 24072822)                          Case Website: https://cases.stretto.com/Benefytt
          J. Machir Stull (TX Bar No. 24070697)                            Email:        benefyttinquiries@stretto.com
          Victoria N. Argeroplos (TX Bar No. 24105799)                     Telephone:    833.693.3762 (Toll-free)
          1401 McKinney Street, Suite 1900                                               720.450.8180 (International)
          Houston, TX 77010
          Telephone: (713) 752-4200                                        If by First-Class Mail or Hand Delivery or
          Facsimile:    (713) 752-4221                                     Overnight Mail:
          Email:        mcavenaugh@jw.com                                  Benefytt Claims Processing Center
                        jwertz@jw.com                                      c/o Stretto
                        mstull@jw.com                                      410 Exchange, Suite 100
                        vargeroplos@jw.com                                 Irvine, CA 92602

          -and-

          KIRKLAND & ELLIS LLP
          KIRKLAND & ELLIS INTERNATIONAL LLP
          Patrick J. Nash, P.C. (pro hac vice pending)
          John R. Luze (pro hac vice pending)
          Jeffrey T. Michalik (pro hac vice pending)
          Yusuf Salloum (pro hac vice pending)
          300 North LaSalle Street
          Chicago, Illinois 60654
          Telephone: (312) 862-2000
          Facsimile:     (312) 862-2200
          Email:         patrick.nash@kirkland.com
                         john.luze@kirkland.com
                        jeff.michalik@kirkland.com
                        yusuf.salloum@kirkland.com

          Proposed Co-Counsel to the Debtors
          and Debtors in Possession

5.        Bankruptcy Clerk’s Office
          Documents in this case may be       United States Courthouse                      Hours Open: Monday - Friday
          filed at this address.              515 Rusk Avenue                                       8:00 AM - 5:00 PM CT
                                              Houston, Texas 77002                          Contact phone: 713-250-5500

                                              All documents in this case are available
                                              free of charge on the website of the



Official Form 309F1 (For Corporations or Partnerships)                              Notice of Chapter 11 Bankruptcy Case
         Case 23-90566 Document 17-1 Filed in TXSB on 05/23/23 Page 8 of 10



     You may inspect all records            Debtors’ notice and claims agent at
     filed in this case at this office or   https://cases.stretto.com/Benefytt
     online at www.pacer.gov

6.   Meeting of Creditors                   [●], 2023 at [●] a.m./p.m. (prevailing          Location:
                                            Central Time)                                   Telephone Conference Call

                                                                                            Dial: [●]
                                                                                            Code: [●]
     The debtor’s representative            The meeting may be continued or
     must attend the meeting to be          adjourned to a later date. If so, the date
     questioned under oath.                 will be on the court docket.
     Creditors may attend, but are
     not required to do so.

7.   Proof of Claim Deadline:               Deadline for filing proof of claim:
                                                                                            General Bar Date: [Day], [●],
                                                                                            2023 at 5:00 PM CT.
                                                                                            Governmental Bar Date:
                                                                                            [Day], [●], 2023 at 5:00 PM CT.

                                            A proof of claim is a signed statement describing a creditor's claim. A proof of
                                            claim form may be obtained at www.uscourts.gov or any bankruptcy clerk's
                                            office.

                                            Your claim will be allowed in the amount scheduled unless:
                                               Your claim is designated as disputed, contingent, or unliquidated;
                                               You file a proof of claim in a different amount; or
                                               You receive another notice.

                                            If your claim is not scheduled or if your claim is designated as disputed,
                                            contingent, or unliquidated, you must file a proof of claim or you might not be
                                            paid on your claim and you might be unable to vote on a plan. You may file a
                                            proof of claim even if your claim is scheduled.

                                            You may review the schedules at the bankruptcy clerk's office or online at
                                            https://pacer.uscourts.gov.

                                            Secured creditors retain rights in their collateral regardless of whether they file
                                            a proof of claim. Filing a proof of claim submits a creditor to the jurisdiction of
                                            the bankruptcy court, with consequences a lawyer can explain. For example, a
                                            secured creditor who files a proof of claim may surrender important nonmonetary
                                            rights, including the right to a jury trial.
8.   Exception to discharge                 If § 523(c) applies to your claim and you seek to have it excepted from discharge,
     deadline                               you must start a judicial proceeding by filing a complaint by the deadline stated
                                            below.

     The bankruptcy clerk's office
     must receive a complaint and
     any required filing fee by the         Deadline for filing the complaint: Not applicable
     following deadline.
9.   Creditors with a foreign               If you are a creditor receiving notice mailed to a foreign address, you may file a
     address                                motion asking the court to extend the deadlines in this notice. Consult an
                                            attorney familiar with United States bankruptcy law if you have any questions
                                            about your rights in this case.

10. Filing a Chapter 11                     Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan
    bankruptcy case                         is not effective unless the court confirms it. You may receive a copy of the plan
                                            and a disclosure statement telling you about the plan, and you may have the
                                            opportunity to vote on the plan. You will receive notice of the date of the



Official Form 309F1 (For Corporations or Partnerships)                               Notice of Chapter 11 Bankruptcy Case
        Case 23-90566 Document 17-1 Filed in TXSB on 05/23/23 Page 9 of 10



                                      confirmation hearing, and you may object to confirmation of the plan and attend
                                      the confirmation hearing. Unless a trustee is serving, the debtor will remain in
                                      possession of the property and may continue to operate its business.

11. Discharge of debts                Confirmation of a chapter 11 plan may result in a discharge of debts, which may
                                      include all or part of your debt. See 11 U.S.C. § 1141(d). A discharge means
                                      that creditors may never try to collect the debt from the debtor except as provided
                                      in the plan. If you want to have a particular debt owed to you excepted from the
                                      discharge and § 523(c) applies to your claim, you must start a judicial proceeding
                                      by filing a complaint and paying the filing fee in the bankruptcy clerk’s office by
                                      the deadline.




Official Form 309F1 (For Corporations or Partnerships)                       Notice of Chapter 11 Bankruptcy Case
       Case 23-90566 Document 17-1 Filed in TXSB on 05/23/23 Page 10 of 10



                                                   Rider 1
                                      Other Names Used in the Last 8 Years

                 Current Entity Name                                       Former Entity Name
                                                         Health Insurance Innovations, Inc.
Benefytt Technologies, Inc.                              Benefytt
                                                         Benefytt Technologies
Health Plan Intermediaries Holdings, LLC                 Health Plan Intermediaries
                                                         Health Insurance Innovations
Health Insurance Innovations Holdings, Inc.
                                                         Health Insurance Innovations, Inc.
HealthPocket, Inc.                                       AgileHealthInsurance




Official Form 309F1 (For Corporations or Partnerships)                 Notice of Chapter 11 Bankruptcy Case
